           Case 2:19-cv-02702-VAP-JEM Document 11 Filed 05/28/19 Page 1 of 3 Page ID #:63



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                   ANHEUSER-BUSCH, LLC
         10
         11                            UNITED STATES DISTRICT COURT
         12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
         13                           WESTERN DIVISION – LOS ANGELES
         14
         15        PATAGONIA, INC. and                 Case No. 2:19-cv-02702-VAP
                   PATAGONIA PROVISIONS, INC.,
         16                                            STIPULATION TO EXTEND
                                 Plaintiffs,
         17                                            TIME TO RESPOND TO INITIAL
                        v.                             COMPLAINT BY NOT MORE
         18                                            THAN 30 DAYS (L.R. 8-3)
                   ANHEUSER-BUSCH, LLC dba
         19        PATAGONIA BREWING CO. ,
                                                       Complaint Served: May 7, 2019
         20                      Defendant.
                                                       Current Response Date: May 28, 2019
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                                                       New Response Date: June 7, 2019
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  COOLEY LLP                                                 STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW
                                                                                    INITIAL COMPLAINT
  LOS ANGELES
                                                                         CASE NO. 2:19-CV-02702-VAP
           Case 2:19-cv-02702-VAP-JEM Document 11 Filed 05/28/19 Page 2 of 3 Page ID #:64



            1            WHEREAS, on May 7, 2019, Plaintiffs Patagonia, Inc. and Patagonia Provisions,
            2      Inc. (“Plaintiffs”) caused the Complaint in this matter to be served on Defendant
            3      Anheuser-Busch, LLC dba Patagonia Brewing Co. (“Defendant”);
            4            WHEREAS, the current deadline for Defendant’s response to Plaintiffs’
            5      Complaint is May 28, 2019;
            6            WHEREAS, the Parties have not entered into any prior stipulations to extend the
            7      time for Defendant to respond to the Complaint; and
            8            WHEREAS, the Parties have stipulated to extend Defendant’s time to respond to
            9      the Complaint, pursuant to Local Rule 8-3, by ten (10) days to June 7, 2019.
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         11              IT IS SO STIPULATED.
         12
                   Dated:     May 28, 2019                Respectfully submitted,
         13
                                                          KILPATRICK TOWNSEND &
         14                                               STOCKTON LLP
         15
                                                          /s/ Gregory S. Gilchrist
         16                                               Gregory S. Gilchrist
                                                          Ryan T. Bricker
         17                                               Sophy Manes
                                                          Alexandra N. Martinez
         18
                                                          Attorneys for Plaintiffs
         19                                               PATAGONIA, INC. and PATAGONIA
                                                          PROVISIONS, INC.
         20
         21        Dated:     May 28, 2019                Respectfully submitted,
         22                                               COOLEY LLP
         23
                                                          /s/ Bobby Ghajar
         24                                               Bobby Ghajar
                                                          Amanda Main
         25                                               Attorneys for Defendant
         26                                               ANHEUSER-BUSCH, LLC

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  COOLEY LLP                                                         STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW                                            1.                              INITIAL COMPLAINT
  LOS ANGELES
                                                                                  CASE NO. 2:19-CV-02702-VAP
           Case 2:19-cv-02702-VAP-JEM Document 11 Filed 05/28/19 Page 3 of 3 Page ID #:65



            1                  DECLARATION OF CONSENT TO ELECTRONIC SIGNATURE:
            2              Pursuant to Central Dist. LR 5-4.3.4(a)(2), the electronic filer of this
            3      Stipulation, Bobby Ghajar, hereby attests that all other signatories listed, and on
            4      whose behalf the filing is sumbitted, concur in the filing’s content and have authorized
            5      this filing.
            6
                   Dated:         May 28, 2019               /s/ Bobby Ghajar
            7                                                Bobby Ghajar
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  COOLEY LLP                                                             STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW                                               2.                               INITIAL COMPLAINT
  LOS ANGELES
                                                                                      CASE NO. 2:19-CV-02702-VAP
